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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

      Plaintiff,

v.

SHARA SMITH,

      Defendant.                                    Case No. 05-CR-30133-DRH

                                    ORDER

HERNDON, District Judge:

            Upon motion of the United States of America (Doc. 190), Counts 1, 16,

and 17 are dismissed as to defendant Shara Smith.

            IT IS SO ORDERED.

            Signed this 31st day of May, 2006.

                                                    /s/       David RHerndon
                                                    United States District Court
